Case 1:03-cr-10085-.]DT Document 93 Filed 07/28/05 Page 1 of 6 PagelD 9§,

R@O
05 <9)»
uNiTED sTATEs DlsTRlcT couRT `/Q
wEerRN DlsTRlcT oF TENNEssEE <:>6,
EAs'rERN olvisloN ;a;c j ;3, QC,
uNlTED sTATEs oF AMERch '* NM~£;£ /.?
/'”f"t,e,f"g°/` 47
.v- 03-10085-001-T ”’7@%

JAMA|CA JOHNSON
Mag[ C. Jermannl FPD
Defense Attorney
200 Jefferson Ave., Ste 200
Memphis, TN 38103

 

JUDGMENT lN A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |ndictment on April 27, 2004. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & section NMCMM Concluded Number(sj
21 U.S.C. § 841(3)(1); Distribution of Cocaine Base; Aiding 07/30/2003 1

18 U.S.C. § 2 and Abetting

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

Count(s) 2 dismissed on the motion of the United States.

IT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days ofany change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 02/17/1973 July 21, 2005
Deft’s U.S. lVlarshal No.: 19243-076

Defendant’s Nlai|ing Address:
56 Tracewood Cove
Jackson, TN 38305

   

A_Q¢M_

UN|TED STATES DlSTR|CT JUDGE

 
 

Thls document entered on the dock

l et sheet In co fiance
with Rule 55 and/or 32(b) FRCrP on 71 § 9 2 55

Case 1:03-cr-10085-.]DT Document 93 Filed 07/28/05 Page 2 of 6 PagelD 95

Case No: 1:03cr10085 Defendant Name: Jamaica Johnson Page 2 of 5
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 63 Months as to Count 1 of the lndictment.

The Court recommends to the Bureau of Prisons: |nstitution as close to defendant’s
home as possib|e.

The defendant is remanded to the custody of the United States lVlarsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgmentl
UN|TED STATES |VlARSHAL
By:

 

Deputy U.S. lVlarshal

Case 1:03-cr-10085-.]DT Document 93 Filed 07/28/05 Page 3 of 6 PageiD 96

Case No: 1:03cr10085 Defendant Name: Jamaica Johnson Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer',

2. The defendant shall report to the probation officer as directed by the court or probation officer and sha|i
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute or administer any narcotic or other controlled substance or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, usedl
distributed, or administered;

Case 1:03-cr-10085-.]DT Document 93 Filed 07/28/05 Page 4 of 6 PageiD 97

Case No: 1:03cr10085 Defendant Name: Jamaica Johnson Page 4 of 5

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofncer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11_ The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement.

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERViSED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment and/or
treatment for substance abuse as directed by the Probation Office.

2. The defendant shall cooperate with the Probation Office in the collection of DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminai monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

The Special Assessment shall be due immediately.

Case 1:03-cr-10085-.]DT Document 93 Filed 07/28/05 Page 5 of 6 PageiD 98

Case No: 1:03cr10085 Defendant Name: Jamaica Johnson Page 5 of 5
FINE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 93 in
case 1:03-CR-10085 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

